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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

San Jose Division -

 

ROBERT L. GARBER, on behalf of himself No. C-06-4327 MJJ
and all others similarly situated,
CLASS ACTION

Plaintiff,
[CORRECTED] COMPLAINT

Vv.
JURY TRIAL DEMANDED

JUNIPER NETWORKS, INC., MARCEL
GANI, WILLIAM R. HEARST IIE, SCOTT
KRIENS, STRATTON SCLAVOS,
PRADEEP SINDHU and WILLIAM R.
STENSRUD,

Defendants .

 

 

 

Robert L. Garber (“Plaintiff”), individually and on behalf of all other persons and entities
who purchased or otherwise acquired securities issued by Juniper Networks. Inc. “Juniper” or

the “Company”) between September 1, 2003 and May 22, 2006, by his undersigned attorneys,

 

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(“SEC”); (iii) press releases published by Juniper; (iv) analyst reports concerning the Company;

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for his Class Action Complaint (“Complaint”), alleges the following upon persona! knowledge as
to himself and his own acts, and upon information and belief as to all other matters. Plaintiff's
information and belief is based on his investigation (made by and through his attorneys), which
investigation included, among other things, a review and analysis of: (i) public documents

pertaining to the defendants; (ii) Juniper’s filings with the Securities and Exchange Commission

and (v) newspaper and magazine articles (and other media coverage) regarding Juniper and its
business. Many of the facts supporting the allegations contained herein are known only to the
defendants or are exclusively within their custody and/or control. Plaintiff believes that further
substantial evidentiary support will exist for the allegations in this Complaint after a reasonable
opportunity for discovery.

1. SUMMARY OF THE ACTION

1, This is securities class action brought on behalf of all purchasers of Juniper’s
publicly traded securities between September 1, 2003 and May 22, 2006, inclusive (the “Class
Period’), which securities were artificially inflated as a result of violations of the federal
securitics laws arising out of defendants’ (i) dissemination of false and misleading statements
concerning the Company’s financial results; and (ii) intentional and/or reckless disregard of basic
accounting principles.

2, On May 22, 2006, Juniper announced that it had received a request for
information from the U.S. Attorney for the Eastern District of New York related to its stock
option grant practices, At that time, Juniper stated that it was working actively to respond to the
request, and further noted that its own Audit Committee was reviewing the Company’s option
grants, assisted by independent counsel and advisers. This announcement came on the heels of

numerous press reports that had been published since March 2006 to the effect that management

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at many companies likely had “backdated” the grant date of stock options to senior management
personnel in order to increase the potential value of those options to the recipients (backdating
refers to the practice by which firms choose an option grant date in the past with a lower stock
price). Indeed, two separate reports released in May 2006 identified Juniper as one company
whose pattern of stock option grants to senior executives was suspicious.

3, On the revelations of May 2006 regarding the Company’s stock option grant
practices, the price of Juniper stock plummeted -- from $18.45 per share at the close of trading
on April 28, 2006 to $14.62 per share during the morning hours of May 22, 2006. This
represented a loss in market capitalization of over $2.16 billion.

4. Backdating stock options, in effect, provides extra compensation to the grant
recipients while concealing the transfer of wealth from the shareholders. Arthur Levitt, former
Chairman of the SEC, recently described backdating in the most blunt terms: “Backdating
‘represents the ultimate in greed,’ ... “It is stealing, in effect. It is ripping off shareholders in an
unconscionable way.’” Charles Forelle and James Bandler, Five More Companies Show
Questionable Options Pattern, THE WALL STREET J OURNAL, May 22, 2006, at Al.

5. ' The practice of option backdating also has important accounting ramifications,

Under accounting rules in effect through December 31, 2005 (APB No. 25, “Accounting for

Stock Issued to Employees” (“APB No. 25”)), companies were allowed to expense options

according to the intrinsic value method, whereby the expense equaled the difference between the
fair value of the underlying stock and the exercise price of the option. This expense is obviously
zero for option grants where the exercise price equals the prevailing market price.

6. Such is not the case when an option grant is “in the money” (priced below a
stock’s fair market value at the time of the award). Options priced at below a stock’s fair market

value when they are awarded results in an executive receiving an instant paper gain. Under APB

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No. 25, that “paper gain” is the equivalent of additional compensation to the executive that must
be treated as a cost to the corporation. Since it appears that Juniper did not treat as an expense
the amount by which the market price of the Company’s stock on the actual date the options
were issued exceeded the exercise price of the options, the Company overstated its reported
profits. .

7. Apart from the foregoing, it is readily apparent that the defendants deliberately
concealed from the investing public that the Company had manipulated stock option grant dates.
While the defendants maintained publicly that stock options to Juniper employees always were
issued at the fair market value of the Company’s stock on the date of the grant, in practice, the
defendants repeatedly manipulated option grant dates to coincide with particularly low share
prices (so as to benefit option recipients).

8. Plaintiff has brought this class action on behalf of similarly situated Juniper
shareholders to seek redress for the damages caused by the defendants’ unscrupulous and
manipulative conduct.

Il. JURISDICTION AND VENUE

9, This action arises under Sections 10(b), and 20(a) of the Exchange Act of 1934
(“Exchange Act”), 15 US.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated there under, 17
C.F.R. §240.10b-5,

10. This Court has subject-matter jurisdiction over this action pursuant to Section 27
of the Exchange Act, 15 U.S.C. §78aa, and 28 U.S.C. §1331.

11. | Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28
U.S.C. $1391. Many of the acts and practices complained of herein occurred in substantial part
in this District. Juniper maintains its headquarters in this District at 1194 North Matilda Avenue,

Sunnyvale, California 94089.

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Board of Directors’) meetings and via reports and other information provided to him in

 

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12,. In connection with the acts, transactions and conduct alleged herein, defendants,
directly or indirectly, used the means and instrumentalities of interstate commerce, including, but
not limited to, the United States mails, interstate telephone communications and the facilities of al
national securities exchange and market.

WI, THE PARTIES

13. Plaintiff Robert L. Garber purchased the publicly traded securities of Juniper at
artificially inflated prices during the Class Period as set forth in the accompanying certification
(incorporated by reference herein).

14. Defendant Juniper is a Delaware corporation with its principal executive offices
located at 1194 North Matilda Avenue, Sunnyvale, California 94089, According to its public
filings, Juniper is a leading provider of purpose-built Internet infrastructure solutions that meet
the scalability, performance, density and compatibility requirements of rapidly evolving,
optically-enabled Internet Protocol (IP) networks, Juniper’s common stock trades on NASDAQ
under the ticker symbol “JNPR.”

15. Defendant Scott Kriens (“Kriens”) has served as Chief Executive Officer and
Chairman of the Board of Directors of Juniper since October 1996. Defendant Kriens
participated in the issuance of, signed, and/or certified as accurate, the Company’s false and
misleading SEC filings during the Class Period. Because of Defendant Kriens’ position, he
knew the adverse non-public information about the business of Juniper as well as its finances and|
present and future business prospects, via access to internal corporate documents, conversations

and connections with other corporate officers and employees, attendance at management (and/or

connection therewith.

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16. Defendant Pradeep Sindhu (“Sindhu”) co-founded Juniper in February 1996 and
served as Chief Executive Officer and Chairman of the Board of Directors until September 1996.
Since that time, Dr. Sindhu has served as the Vice Chairman of the Board of Directors and
Juniper’s Chief Technical Officer. Defendant Sindhu participated in the issuance of and/or
signed the Company’s false and misleading SEC filings during the Class Period. Because of
Defendant Sindhu’s position, he knew the adverse non-public information about the business of
Juniper as well as its finances and present and future business prospects, via access to internal
corporate documents, conversations and connections with other corporate officers and
employees, attendance at management (and/or Board of Directors’) meetings and via reports and
other information provided to him in connection therewith.

17, Defendant Marcel Gani (“Gani”) joined Juniper as Chief Financial Officer in
February 1997 and became Executive Vice President and Chief Financial Officer of the
Company in July 2002. In late 2004, the Company announced that Mr. Gani would assume the
position of Chief of Staff. Defendant Gani still holds that position at the present time.
Defendant Gani participated in the issuance of, signed, and/or certified as accurate, certain of the
Company's false and misleading SEC filings during the Class Period. Because of Defendant
Gani’s position, he knew the adverse non-public information about the business of Juniper as
well as its finances and present and future business prospects, via access to internal corporate
documents, conversations and connections with other corporate officers and employees,
attendance at management meetings and via reports and other information provided to him in
connection therewith.

18. By certifying (where required by the Sarbanes-Oxley Act of 2002) various of the

Company’s SEC filings, Defendants Kriens, and Gani, represented that (i) those filings

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accurately portrayed the Company’s financial condition; and (11) each had inspected the
Company’s disclosure and internal financial reporting controls and found them to be effective.

19. Defendant William R. Hearst III (“Hearst”) has served as a director of Juniper
since 1996 and was a member of J uniper’s Audit Committee (the “Audit Committee”) at all
times during the Class Period. Defendant Hearst signed certain of the Company’s false and
misleading SEC filings identified in this Complaint.

20. Defendant Stratton Sclavos (“Sclavos”) has served as a director of Juniper since
2000, He served as a member of the Company’s Audit Committee during at least a portion of
2003. Defendant Sclavos signed certain of the Company’s false and misleading SEC filings
identified in this Complaint.

21. As noted above, certain of the above-referenced defendants served as members of
the Audit Committee of the Juniper Board between 2003 and 2006. The Company’s Audit |
Committee assists the Board in fulfilling its responsibilities for general oversight of the integrity

of Juniper’s financial statements; the Company’s compliance with legal and regulatory

requirements; the qualifications and independence of the independent auditors retained by the

Company; the performance of Juniper’s internal audit function and independent auditors; and
risk assessment and risk management. More specifically, the Audit Committce’s charter states
that the responsibilities of the Audit Committee “shall include,” inter alia:

a. Overseeing the internal audit function and reviewing, on a continuing
basis, the adequacy of the Company’s system of internal controls, including meeting periodically
with the Company’s management and the independent auditors to review the adequacy of such
controls and to review before release the disclosure regarding such system of internal controls
required under SEC rules to be contained in the Company’s periodic filings and the attestations
or reports by the independent auditors relating to such disclosure;

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b. Reviewing and discussing with management and the Company’s
independent auditors the annual audited financial statements and quarterly unaudited financial
statements, including the Company’s disclosures under “Management’s Discussion and Analysis
of Financial Condition and Results of Operations,” prior to filing the Company’s Annual Report
on Form 10-K and Quarterly Reports on Form 10-Q, respectively, with the SEC;

c. Conducting a post-audit review of the financial statements and audit
findings, including any significant suggestions for improvements provided to management by the
independent auditors; and

d. Reviewing, approving and monitoring the Company’s Worldwide Code of
Business Conduct and Ethics,

22. Accordingly, as members of the Audit Committee during all (or a portion) of the |
period between 2003 to 2006, Defendant Hearst and Defendant Sclavos both had the
responsibility to, among other things, monitor the Company’s financial reporting processes and
internal control systems and review the Company’s financial statements prior to their public
dissemination. Defendant Hearst and Defendant Sclavos knew that Juniper’s financial
statements would be subsequently referred to and incorporated within the Company’s public
filings. Consequently, these individuals had an obligation to ensure that those financial
statements were not false and misleading. Nevertheless, as detailed herein, as a result of
Defendants Hearst and Sclavos’ intentional or reckless disregard of their duties, Juniper
published financial statements that were materially false and misleading.

23, Defendant William R. Stensrud has served as a director of Juniper since 1996. He
served on the Board’s Compensation Committee throughout the Class Period. Defendant
Stensrud signed certain of the Company’s false and misleading SEC filings identified in this

Complaint.

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24. Collectively, defendants Kriens, Sindhu, Gani, Hearst, Sclavos and Stensrud are
referred to herein as the “Individual Defendants.” The Individual Defendants and Juniper are
collectively referred to herein as the “Defendants.”

IV. CONTROL PERSON ALLEGATIONS/GROUP PLEADING

25. By virtue of the Individual Defendants’ positions within the Company, they had
access to undisclosed adverse information about its business, operations, operational trends,
finances, and present and future business prospects. The Individual Defendants would ascertain
such information through Juniper’s internal corporate documents (including the Company’s
operating plans, budgets and forecasts and reports of actual operations compared thereto),
conversations and connections with other corporate officers and employees, conversations and
connections with vendors and customers, attendance at sales, management, and Board of
Directors’ meetings, including committees thereof, and through reports and other information
provided to them in connection with their roles and duties as J uniper officers and directors.

26. — Itis appropriate to treat the Individual Defendants collectively as a group for
pleading purposes and to presume that the materially false, misleading and incomplete
information conveyed in the Company’s public filings and press releases as alleged herein was
the result of the collective actions of the Individual Defendants identified above. The Individual
Defendants, by virtue of their high-level positions within the Company, directly participated in
the management of the Company, were directly involved in the day-to-day operations of the
Company at the highest levels and were privy to confidential proprietary information concerning
the Company and its business, operations, prospects, growth, finances, and financial condition,
as alleged herein.

27. The Individual Defendants were involved in drafting, producing, reviewing,

approving and/or disseminating the materially false and misleading statements and information

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alleged herein, were aware of or recklessly disregarded the fact that materially false and
misleading statements were being issued regarding the Company, and approved or ratified these
statements, in violation of the federal securities laws.

28. As officers and controlling persons of a publicly-held company whose common

stock was, and is, registered with the SEC pursuant to the Exchange Act, and was traded on

NASDAQ, and governed by the provisions of the federal securities laws, the Individual

Defendants each had a duty to promptly disseminate accurate and truthful information with
respect to the Company’s financial condition and performance, growth, operations, financial
statements, business, markets, management, earnings and present and future business prospects,
and to correct any previously issued statements that had become materially misleading or untrue,
so that the market price of the Company’s publicly traded securities would be based upon
truthful and accurate information. The Individual Defendants’ material misrepresentations and
omissions during the Class Period violated these specific requirements and obligations.

29, The Individual Defendants, by virtue of their positions of control and authority as
officers and/or directors of the Company, were able to and did control the content of the various
SEC filings, press releases and other public statements pertaining to the Company during the
Class Period. The Individual Defendants were provided with copies of the documents alleged
herein to be misleading prior to or shortly after their issuance and/or had the ability and/or
opportunity to prevent their issuance or cause them to be corrected. Accordingly, they are ©
responsible for the accuracy of the public reports and releases detailed herein.

V. CLASS ACTION ALLEGATIONS

30. ‘Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(3) on behalf of a class (the “Class”) of all persons who purchased or

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otherwise acquired Juniper securities during the Class Period, and who were damaged thereby.

. present time and can only be ascertained from books and records maintained by Juniper and/or

 

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The Class Period is from September 1, 2003 through May 22, 2006.

31, Excluded from the Class are the Defendants herein, members of the immediate
families of the Individual Defendants, any parent, subsidiary, affiliate, officer, or director of
Defendant Juniper, any entity in which any excluded person has a controlling interest, and the
legal representatives, heirs, successors and assigns of any excluded person.

32. The members of the Class are so numerous that jomder of all members is

impracticable. While the exact number of members of the Class is unknown to Plaintiff at the

its agent(s), Plaintiff believes that there are tens of thousands of members of the Class located
throughout the United States. As of May 22, 2006, Juniper had issued and outstanding over
565.75 million shares of common stock. Throughout the Class.Period, Juniper common stock
was actively traded on NASDAQ, with more than 6.56 billion shares traded during the Class -
Period.

33. Plaintiff will fairly and adequately represent and protect the interests of the
members of the Class. Plaintiff has retained extremely competent counsel experienced in class
and securities litigation and intends to prosecute this action vigorously. Plaintiff is a member of
the Class and does not have interests antagonistic to, or in conflict with, the other members of the
Class.

34. _— Plaintiff's claims are typical of the claims of the members of the Class. Plaintiff
and all members of the Class purchased Juniper securities at artificially inflated prices and have

sustained damages arising out of the same wrongful course of conduct,

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35. | Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members. Among the questions of
law and fact common to the Class are:

a. Whether the federal securities laws were violated by the Defendants’ acts
and omissions as alleged herein;

b. Whether the Defendants participated in and pursued the common course of
conduct and fraudulent scheme complained of herein;

c. Whether the Defendants had knowledge of (or were reckless with respect
to) the improper activities described herein;

d. Whether the statements disseminated to the investing public, including
investors in Juniper, during the Class Period omitted and/or misrepresented material facts about
Juniper’s true financial condition, business operations and future business prospects;

e. Whether Defendants acted knowingly or recklessly in omitting to state
and/or misrepresenting material facts;

f. Whether the market price of Juniper’s securities during the Class Period
was artificially inflated due to the non-disclosures and/or misrepresentations complained of
herein; and

g. Whether Plaintiff and the other members of the Class have sustained
damages and, if so, the appropriate measure thereof.

36.  Aclass action is superior to other available methods for the fair and efficient
adjudication of this controversy since, among other things, joinder of all members of the Class is
impracticable. Furthermore, as the damages suffered by many individual Class members may be
relatively small, the expense and burden of individual litigation make it virtually impossible for

Class members individually to seek redress for the wrongful conduct alleged. Plaintiff does not

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foresee any difficulty in the management of this litigation that would preclude its maintenance as
a class action.

37. The names and addresses of the record owners of the shares of J uniper common
stock and other securities purchased during the Class Period are available from Juniper and/or its
transfer agent(s). Notice can be provided to persons who purchased or otherwise acquired
Juniper common stock by a combination of published notice and first class mail, using
techniques and forms of notice similar to those customarily used in other class actions arising
under the federal securities laws.

VI. OVERVIEW OF JUNIPER’S FRAUDULENT SCHEME

38. Each of the Defendants is liable as a participant in a scheme, plan and course of.
conduct that operated as a fraud and deceit on Class Period purchasers of the Company’s
securities. Throughout the Class Period, Defendants disseminated materially false and
misleading statements and concealed material adverse facts about Juniper’s operations and
financial condition. Among other fraudulent conduct, the Defendants reported inflated revenue
figures for Juniper by failing to account properly for stock options made to Juniper employees
(including senior management personnel).

39. The Company has publicly boasted of its adoption of (and adherence to) a strict

‘ethical code. Indeed, in its Form 10-K dated March 7, 2006, Juniper noted that it had “adopted a

Worldwide Code of Business Conduct and Ethics that applies to our principal executive officer
and all other employees.” That code apparently was designed to deter wrongdoing and to
promote: (i) honest and ethical conduct; (ii) full, fair, accurate, timely and understandable
disclosure in reports and documents that the Company files with or submits to the SEC and in
other public communications made by the Company; and (iii) compliance with applicable

governmental laws, rules and regulations. The code specifically provides that:

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‘Period, the Defendants deceived the investing public by, among other things, issuing false and

 

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As a public company, the Company, through its employees, directors, contractors
and agents of Company entities worldwide, has a responsibility to provide full,
fair, accurate, timely and understandable disclosure of its business and financial
condition in the periodic reports we are required to file with the United States
Securities and Exchange Commission. As a result, the integrity of our financial
information is paramount. The Company’s financial information guides the
decisions of our Board of Directors and is relied upon by our stockholders and the
financial markets.

However, notwithstanding its alleged adherence to strict ethical standards, throughout the Class

misleading statements regarding the Company’s stock option programs and through the
intentional and/ot reckless disregard of accounting principles applicable to stock option grants
made to employees.

40. By way of background, for at least the past decade, stock options, which allow
option holders to acquire shares of a company’s stock on a future date at a price determined by
the plan terms (the “exercise price”) -- most commonly the closing price for the stock on the day
of or the day before the grant — have been a popular form of executive compensation, supposedly
because they help align executive interests with those of the shareholders. As The Wall Street
Journal recently explained:

Stock options give recipients a right to buy company stock at a set price, called

the exercise price or strike price. The right usually doesn’t vest for a year or.

more, but then it continues for several years. The exercise price is usually the
stock’s 4 p.m. price the day before...

* OR

A key purpose of stock options is to give recipients an incentive to improve their
employer’s performance, including its stock price. No stock gain, no profit on the
options.

Charles Forelle and James Bandler, The Perfect Payday - Some CEOs Reap Millions By Landing
Stock Options When They Are Most Valuable; Luck — Or Something Else?, THE WALL STREET

JOURNAL, March 18, 2006 at Al.

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41. | Unfortunately, in practice, the granting of stock options to senior management
frequently did not have the desired effect. For example, options sometimes caused managers to
look for ways to drive up stock. prices in the short term through acquisitions, asset sales, or even
fraud, rather than by effectively managing existing businesses for long term success, as many
shareholders would prefer. Although compensation experts continue to debate whether or not
these risks outweigh the incentives stock options are intended to provide, a second, potentially
larger, problem is beginning to surface: stock option plans are becoming just another place to
hide lavish and unprecedented executive compensation.

42, More specifically, a series of recent reports in The Wall Street Journal (and in
other publications) concluded that among several firms, a pattern of sharp stock appreciation
after grant dates was indicative of backdating. In the past several months, dozens of companies
have been questioned by federal investigators (including the SEC and the U.S. Attorneys’
Offices for the Southern and Eastern Districts of New York) about whether backdated option
awards have (i) provided undisclosed benefits to senior executives and (ii) resulted in the filing
of false financial statements.

43. As noted above, backdating refers to the practice by which firms choose an option
grant date in the past with a lower stock price. The lower a stock option exercise price is, the
more money the recipient can potentially make in the future by exercising the options. Thus,
which day’s price the options carry can make a big difference. By way of example, consider an
executive who receives 100,000 options on a day when a company’s stock is at $30 pet share.
Exercising them after the stock has reached $50 per share would bring a profit of $20 times
100,000, or $2 million. However, if the grant date was a month earlier and the stock then was at

$20 per share, the options would bring in an extra $1 million.

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44. __ As set forth above, a key purpose of stock options is to give recipients an
incentive to improve their employer’s performance, including its stock price. Backdating the
option grants so that they carry a lower price would run counter to this goal, by giving the
recipient a paper gain right from the start. Moreover, that instant paper gain is the equivalent of
extra pay and, under Generally Accepted Accounting Principles (“GAAP”) in effect until
December 31, 2005 (APB No. 25), constitutes a cost to the company. As such, a firm that failed
to include such a cost in its books will have overstated its profits, and might need to restate past
financial results.

45. The SEC requires that publicly traded companies present their financial
statements in accordance with GAAP. See 17 C.F.R. §210.4-01(a)(1). GAAP consists of those
principles recognized by the accounting profession as the conventions, rules, and procedures
necessary to define accepted accounting practices at the particular time. Regulation $-X, to
which the Company is subject as a registrant under the Exchange Act, 17 CER §210.4-01(a)(1),
provides that financial statements filed with the SEC that are not prepared in compliance with
GAAP are presumed to be misleading and inaccurate.

46. The SEC has adopted the view that backdating violates securities laws and
constitutes financial fraud when firms fail to record as compensation expense the amount by
which the option grants were actually “in the money” at the time that the grant decision was
made. For instance, in a complaint filed by the SEC against Peregrine Systems, Inc. in June of
2003, the SEC alleged that Peregrine’s option plan administrator used a “look back” process
between quarterly Board meetings to identify the day with the lowest stock price over the
interval and then declared this date to be the grant date. The SEC views this as a form of
financial fraud because it resulted in the understatement of compensation expenses. Specifically,

quoting from the SEC complaint: “[u]nder the applicable accounting rules, any positive

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difference in the stock price between the exercise price and that on the measurement date... had
to be accounted for as compensation expense. By failing to record the compensation expense,
Peregrine understated its expenses by approximately $90 million.”

47. In addition, backdating stock option grant dates also has significant federal
income tax implications. By way of background, favorable tax treatment was one reason that
options gained popularity in the 1990s as a way to compensate employees, particularly
executives. 28 U.S.C. §162(m), Section 162(m) of the Internal Revenue Code (“Section
162(m)”), provides that compensation in excess of $1 million per year (including gains on stock
options) paid to a corporation’s five most highly-compensated officers is tax deductible only if
certain conditions are met, One of those conditions is that the compensation must be payable
solely on account of the attainment of one or more performance goals. Tax experts have opined
that options backdated to a day with a lower market price do not qualify for 4 Section 162(m)
deduction (since such grants are not deemed performance-based compensation). As such,
companies with backdated options now face the prospect of paying out significant sums to revise
prior years’ tax returns.

48. A May 2006 study of 100 companies by the Rockville, Maryland-based Center
for Financial Research and Analysis (“CFRA”) said that Juniper was among 17 companies in
that group which showed a “high-risk profile” for possible back-dating of options. Marc Siegel,
director of research at CF RA, said the firm’s clients, which include investment managers, have
been secking to identify companies with risky options patterns, CFRA looked at 100 companies
that issued a high proportion of options relative to their total executive compensation. It then
identified those that, on three or more occasions, granted options at exercise prices that matched,
or were close to, lows of the company stock price between 1997 and 2002, followed by a bounce

of at least 10% in share price.

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49. At or about that same time, J.P. Morgan analyst, Ehud Gelblum, issued a report
reviewing option grants to executives at seventeen companies (including Juniper) dating back to
1998. With respect to Juniper, Mr. Gelblum concluded that there existed a suspicious pattern of
grants at the stook’s low price for a given month.

50. On the heels of the CFRA report and the J.P. Morgan analysis, the Company
announced on May 22, 2006 that it had received a request for information from the U.S.
Attorney for the Eastern District of New York relating to its granting of stock options. At that
same time, the Company also indicated that its Audit Committee was reviewing practices in the
area. Federal investigators likely are focusing on the stock option grants identified below which,
when considered as a whole, reveal a pattern consistent with backdating.

51. | The Company’s definitive proxy statement dated April 13, 2000 indicated that the
following stock options had been made to named executives during Juniper’s fiscal year ended
December 31, 1999:

a, Defendant Kriens received 900,000 options at an exercise price of $60.71

on October 4, 1999; .

-b. Defendant Sindhu received 540,000 options at an exercise price of $60.71
on October 4, 1999;

c. Defendant Gani received 240,000 options at an exercise price of $60.71 on

October 4, 1999;

d. Steven Haley received 315,000 options at an exercise price of $60.71 on
October 4, 1999; and

e. Peter Wexler received 240,000 options at an exercise price of $60.71 on

October 4, 1999,

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52. Remarkably, the lowest closing price of the Company’s stock during the calendar
month of October 1999 occurred on October 4, 1999 (the day of the grant in question). Even
more remarkably, the value of the Company’s stock jumped considerably during the days
following the stock option grant of October 4, 1999. By the close of trading on October 25, 1999
(three weeks after the option rant in question), Juniper’s stock stood at $81.33 (adjusted for a
subsequent split), a 33.96% jump in one week. By the close of trading on October 25, 1999,
Juniper’s stock stood at $85.75 (adjusted for a subsequent split), a 41.24% increase over its
October 4, 1999 close. The Company’s stock ended trading in October 1999 at $91.88 (again
adjusted for a subsequent split).

53. Asimilar pattern is seen with respect to options granted to senior management
personnel in late 2000, and again in early July 2002, According to the Company’s definitive
proxy statement dated March 28, 200 1, the Company granted stock options to named executives
as follows:

a. Defendant Kriens received 400,000 options at an exercise price of
$93.9375 on December 21, 2000;
b. Defendant Sindhu received 540,000 options at an exercise price of

$93.9375 on December 21, 2000;

c. Defendant Gani received 100,000 options at an exercise price of 93.0375
on December 21, 2000;
d. Steven Haley received 100,000 options at an exercise price of $93.9375 on

October 4, 1999; and

€. Peter Wexler received 100,000 options at an exercise price of $93.9375 on

October 4, 1999;

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54. The lowest closing price of the Company’s stock during the calendar month of
December 2000 occurred on December 21, 2000 (the day of the grant in question). Indeed, on

December 1, 2000, the Company’s shares stood at $131.88. By the close of trading on

‘December 28, 2000 (one week after the option grant in question), Juniper stock stood at $138.63,}

an increase of 40.39%).
55. According to the Company’s definitive proxy statement dated March 28, 2003:
a. Defendant Kriens received 550,000 options at an exercise price of $5.69
on July 1, 2002;
b. Defendant Sindhu received 300,000 options at an exercise price of $5.69
on July 1, 2002;
c, Defendant Gani received 500,000 options at an exercise price of $5.69 on
July 1, 2002; and
d. Lioyd Carney received 500,000 options at an exercise price of $5.69 on
July 1, 2002.
56. The lowest closing price of the Company’s stock during the calendar month of
July 2002 occurred on July 1, 2002 (the day of the grant in question). By the close of trading on
July 8, 2002 (one week after the option grant in question), Juniper stock stood at $7.25, an
increase of 27.4%. Within two weeks of the date of the grant, the Company’s shares stood at
$8.05 per share. Indeed, by the close of trading on July 31, 2002, Juniper’s shares were trading
at $8.00 per share, an increase of 40.59% over where they stood at the beginning of that calendar
month,
57. The reason for the foregoing pattern is clear -- the Defendants engaged in the
practice of backdating options (they chose an option grant date in the past with a lower stock

price in order inflate substantially the value of those options in the hands of the recipients). The

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Defendants’ fraudulent conduct in this regard already has subjected Juniper to significant
expense; and potentially will subject the Company to substantial regulatory fines, penalties and
other damages and costs, in that, among other things:

a. Options priced at below a stock’s fair market value when they are awarded
resulted in Juniper’s executives receiving an instant paper gain. Under then applicable
accounting rules, that “paper gain” was the equivalent of additional compensation to the
executive that had to be treated as a cost to the Company. Since it appears that Juniper did not
treat as an expense the amount by which the market price of the Company’s stock on the actual
date the options were issued exceeded the exercise price of the options, the Company overstated
its reported profits, and, as such, might need to restate past financial results, Indeed, the US. -
Attorney’s Office for the Eastern District of New York already is investigating the Company’s
stock option grant practices and no fewer than three (3) derivative complaints are pending
against the Company’s senior management team pertaining to this issue. Moreover, at present,
the Company’s Audit Committee also is investigating Juniper’s historical stock option grants;

b. Section 162(m) provides that compensation in excess of $1 million per
year (including gains on stock options) paid to a corporation’s five most highly-compensated
officers is tax deductible only if certain conditions are met. One of those conditions is that the
compensation must be payable solely on account of the attainment of one or more performance
goals. Options backdated to a day with a lower market price do not qualify for a Section 162(m)
deduction (since such grants are not deemed performance-based compensation). As such,
companies like Juniper with backdated options now face the prospect of paying out significant
sums to revise prior years’ tax returns; and

C. The backdating of stock options may negatively affect Juniper’s credit

rating on a going-forward basis. A recent report issued by Moody’s Investor Services

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(“Moody’s”) sets forth several credit risks associated with backdating, including financial and
reputation risk. According to Jeffrey Benner, a Moody’s analyst and one of the report’s authors,

backdating inquires could raise ratings questions about a company’s leadership, reputation,

‘governance practices, and financial performance. For instance, the report points out those

investigations into backdating already have led to leadership shakeups, as senior managers at
several companies under investigation departed abruptly. In addition, the report explains that
any wrongdoing the investigations uncover could soil a company’s reputation enough to affect a
company’s standing with customers, employees, and investors. Indeed, on May 22, 2006,
Standard & Poor’s Rating Services placed its ratings on Juniper on CreditWatch with negative

implications, citing the probe related to the Company’s stock option grants.

-VIl. FALSE AND MISLEADING STATEMENTS DURING THE CLASS PERIOD

58. As detailed herein, during the Class Period, Defendants issued or caused to be
issued materially false and misleading statements that deceived the investing public as to the
Company’s financial performance and condition.

59. Many of the Company’s false and misleading statements during the Class Period
below were made in Form 10-K’s and Form 10-Q’s that were certified by Defendant Kriens and
Defendant Gani In accordance with the Sarbanes-Oxley Act of 2002. By certifying those public
filings, Defendants Kriens and Gani represented, inter alia, that the quality and accuracy of the
information contained therein concerning the Company’s financial performance and condition
was safeguarded by internal financial controls in place at the Company, which were designed to

foster the development of reliable financial statements.

A. Form 10-Q for the Quarterly Period Ending September 30, 2003
60, On or about November 14, 2003, Juniper filed with the SEC a Form 10-Q for the

quarterly period ending September 30, 2003. Defendant Gani signed this Form 10-Q. Pursuant

to the Sarbanes-Oxley Act of 2002, this Form 10-Q also included certifications signed by
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Defendants Kriens and Gani. In that public filing, the Company reported net income of $7.205
million for the three month period ending September 30, 2003 (as compared to a net loss of
$88.33 million for the three months ending September 30, 2002). The Company further reported
net income of $24.466 million for the nine month period ending September 30, 2003 (as
compared to a net loss of $128,102 million for the nine month period ending September 30,
2002). Juniper further stated that it had recorded tax provisions of $7.7 million and

$14.3 million for the three and nine months ended September 30, 2003, or effective tax rates of
52% and 37%, respectively.

61. In addition, Juniper noted that its stock option plans were accounted for under the
intrinsic value recognition and measurement principles of APB No, 25 (and related
interpretations). The Company indicated that since the exercise price of all options granted
under these plans was equal to the market price of the underlying common stock on the grant
date, no stock-based employee compensation cost, other than acquisition-related compensation,
was recognized in net income.

62. With respect to the issue of internal controls, the Company indicated that it had
“carried out an evaluation, under the supervision and with the participation of our management,
including the Chief Executive Officer and Chief Financial Officer, of the effectiveness of the

design and operation of our disclosure controls and procedures as of the end of the period

covered by this report.” Juniper added that “[b]ased upon that evaluation, the Chief Executive

Officer and Chief Financial Officer concluded that our disclosure controls and procedures are -
effective in timely alerting them to material information relating to the Company (including its

consolidated subsidiaries) required to be included in our Exchange Acct filings.”

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B. Form 10-K for Fiscal Year 2003

63, On or about February 20, 2004, Juniper filed with the SEC a Form 10-K for Fiscal
Year 2003 (ending December 31, 2003). Defendants Kriens, Gani, Sindhu, Hearst, Sclavos, and
Stensrud signed Juniper’s Form 10-K for Fiscal Year 2003. Pursuant to the Sarbanes-Oxley Act
of 2002, this Form 10-K also included certifications signed by Defendants Kriens and Gani. In
that public filing, Juniper stated that its net income for 2003 was $39.199 million, compared to a
net loss in 2002 of $119.56 million (the Company added that it had a net loss of $1 3.41 million
in 2001; net income of $147.91 million in 2000; and a net loss of $9.034 million in 1999). The
Company further indicated that provision for income taxes increased to $19.8 million in 2003
from $4.5 million in 2002. According to the Company, the 2003 effective rate was 33.6%. The
Company added that provision for income taxes had decreased to $4.5 million in 2002 from
$30.0 million in 2001, and that the effective tax rates for 2002 and 2001 were -3.9% and 181%,
respectively.

64. The Company again noted that its stock option plans were accounted for under the
intrinsic value recognition and measurement principles of APB No. 25 and related
interpretations. According to the Company, since the exercise price of all options granted under
these plans was equal to the market price of the underlying common stock on the grant date, no
stock-based employee compensation cost, other than acquisition-related compensation cost, was
recognized in net income. .

65, Juniper also added that under the Company’s Amended and Restated 1996 Stock
Option Plan (the “1996 Plan”), incentive stock options were granted at an exetcise price of not
less than the fair value per share of the common stock on the date of grant; and that while

nonstatutory stock options may be granted at an exercise price of not less than 85% of the fair

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value per share on the date of grant; no nonstatutory stock options had been granted for less than
fair market value on the date of grant.

66. Juniper further noted that in July 2000, its Board of Directors had adopted the |
Juniper Networks 2000 Nonstatutory Stock Option Plan (the “2000 Plan’). The Company
indicated that the 2000 Plan provided for the granting of nonstatutory stock options to
employees, directors and consultants; and that while nonstatutory stock options could be granted

at an exercise price of not less than 85% of the fair value per share on the date of grant, no

_nonstatutory stock options had been granted for less than fair market value on the date of grant.

67. With respect to the issue of internal controls, Juniper stated that: “[w]e carried out
an evaluation, under the supervision and with the participation of our management, including the
Chief Executive Officer and Chief Financial Officer, of the effectiveness of the design and
operation of our disclosure controls and procedures as of the end of the period covered this
report. Based upon that evaluation, the Chief Executive Officer and Chief Financial Officer
concluded that our disclosure controls and procedures are effective in timely alerting them to
material information relating to the Company (including its consolidated subsidiaries) required to
be included in our Exchange Act filings.”

Cc. Form 10-K for Fiscal Year 2004

68. Onor about March 4, 2005, Juniper filed with the SEC a Form 10-K for Fiscal
Year 2003 (ending December 31, 2003). Defendants Kriens, Sindhu, Sclavos, and Stensrud

signed Juniper’s Form 10-K for Fiscal Year 2004. Pursuant to the Sarbanes-Oxley Act of 2002,

this Form 10-K also included certifications signed by Defendant Kriens. In that public filing,

Juniper reported 2004 net income of $135.746 million; compared to $39.199 million in 2003 (the

Company further indicated that it had a net loss in 2002 of $119.65 million; a net loss in 2001 of

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$13.41 million; and net income of $147.91 million in 2000). The Company added that provision
for income taxes increased to $83.3 million in 2004 from $19.8 million in 2003.

69. ° The Company again reported that its stock option plans were accounted for under
the intrinsic value recognition and measurement principles of APB No. 25 and related
interpretations. In this regard, Juniper indicated that since the exercise price of all options
granted under these plans was equal to the market ptice of the underlying common stock on the
grant date, no stock-based employee compensation cost, other than acquisition-related
compensation cost, was recognized in net income. With regard to its stock option plans, Juniper
again noted that under the 1996 Plan, incentive stock options were granted at an exercise price of
not less than the fair value per share of the common stock on the date of grant; and that while
nonstatutory stock options could be granted at an exercise price of not less than 85% of the fair
value per share on the date of grant, no nonstatutory stock options had been granted for less than
fair market value on the date of grant. With respect to the 1996 Plan, Juniper again stated that
while nonstatutory stock options may be granted at an exercise price of not less than 85% of the
fair value per share on the date of grant, no nonstatutory stock options had been granted for less
than fair market value on the date of grant.

70. With respect to the issue of internal controls, the Company stated that it had
assessed the effectiveness of Juniper’s internal control over financial reporting as of December
31, 2004 and that it had concluded that “as of December 31, 2004, Juniper Networks Inc.’s
internal control over financial reporting is effective.”

D. Form 10-K for Fiscal Year 2005

71. On ot about March 7, 2006, Juniper filed with the SEC a Form 10-K for Fiscal
Year 2003 (ending December 31, 2003). Defendants Kriens, Sindhu, Hearst, Sclavos, and

Stensrud signed Juniper’s Form 10-K for Fiscal Year 2004. Pursuant to the Sarbanes-Oxley Act

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of 2002, this Form 10-K also included certifications signed by Defendant Kriens. In that public
filing, Juniper stated, among other matters, that its 2005 net income was $354 million; compared
to 2004 net income of $135.7 million; and 2003 net income of $39.2 (the Company further
indicated that it had a net loss in 2002 of $1 19.7 million; and a net loss in 2001 of $13.4 million).
The Company added that provision for income taxes increased to $83.3 million in 2004 from
$19.8 million in 2003. The Company further noted that provision for income taxes increased to
$148.2 million in 2005 from $83.3 million in 2004 (and that provision for income taxes _
increased to $83.3 million in 2004 from $19.8 million in 2003).

72. The Company added that the Company’s stock option plans were accounted for
under the intrinsic value recognition and measurement principles of APB No. 25 and related
interpretations. The Company added that since the exercise price of all options granted under
these plans vba equal to the market price of the underlying common stock on the grant date, no
stock-based employee compensation cost, other than acquisition-related compensation cost, was
recognized in net income. In addition, the Company again noted that under the 1996 Plan,
incentive stock options were granted at an exercise price of not less than the fair value per share
of the common stock on the date of grant; and that while nonstatutory stock options may be
granted at an exercise price of not less than 85% of the fair value per share on the date of grant,
no nonstatutory stock options had been granted for less than fair market value on the date of
grant. Finally, Juniper stated that under the 2000 Plan, non-statutory stock options may be
granted at an exercise price of not less than 85% of the fair value per share on the date of grant;
but that no non-statutory stock options had been granted for less than fair market value on the
date of grant.

73. With respect to the issue of internal controls, the Company stated that it had

assessed the effectiveness of Juniper’s internal control over financial reporting as of December

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31, 2005 and that it had concluded that “as of December 31, 2005, Juniper Networks Inc.’s
internal control over financial reporting is effective.”

74. Defendants’ statements concerning Juniper’s financial performance and condition
as set forth above were each false and misleading when made because they misrepresented or
omitted the following material adverse facts that the Defendants knew at the time the statements
were made:

a. That stock options to Juniper employees were not always issued at the fair
market value of the Company’s stock on the date of the grant since the Defendants repeatedly
manipulated option grant dates to coincide with particularly low share prices (so as to benefit ©
option recipients);

b. That the Company had not consistently followed the dictates in APB No.
25 in that (i) options priced at below a stock’s fair market value when they are awarded results in
an executive receiving an instant paper gain; and (ii) Juniper did not treat that “paper gain” as a
cost to the corporation in its financial statements (thus inflating the Company's net earnings);

c. That the Company understated its income tax liability since options
backdated to a day with a lower market price do not qualify for a Section 162(m) deduction
(since such grants are not deemed performance-based compensation);

d. That Company insiders (including defendants Kriens, Sindhu and Gani)
received backdated options and thus tock excess.and unjustified compensation at the expense of
the investing public;

e. That significant accounting errors existed in the Company’s historic
financial statements;

f. That the Company had failing and deficient internal controls and

procedures and lacked any meaningful ability to accurately report its financial results; and

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responding to this request for information; and (ii) its Audit Committee was reviewing the

 

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g. That the Company’s illicit scheme vis-a-vis backdating stock option grant
dates potentially subjected Juniper to substantial regulatory fines, penalties and other legal
action, thereby compromising the Company’s overall financial condition and prospects.

VII. THE TRUTH IS FINALLY REVEALED
75. As noted above, a May 2006 study of 100 companies by the CFRA said that

Juniper was among 17 companies in that group which showed a “high-risk profile” for possible
back-dating of options. In addition, at or about that same time, a J.P. Morgan analyst who had
reviewed option grants to executives at seventeen companies dating back to 1998 concluded,
with respect to Juniper, that there existed a suspicious pattern of grants at the stock’s low price
for a given month, The announcement of these findings had an immediate impact on the
Company’s stock price. Juniper’s stock, which had closed the month of April 2006 at $18.48 per
share stood at only $16.10 per share by the close of trading on May 18, 2006.

76. Prior to the opening of trading on May 22, 2006, the Company issued a press
release in which it announced that the Company had received a request for information from the
office of the United States Attorney for the Eastern District of New York relating to the

Company’s granting of stock options. Juniper indicated that (1) it was actively engaged in

Company’s historical stock option granting practices. On the release of this news, Juniper shares
dropped to a 52-week low of $14.62 during morning trading on May 22, 2006.

IX. INAPPLICABILITY OF SAFE HARBOR

77. As alleged herein, the Defendants acted with scienter in that they knew, at the
time that they issued them, that the public documents and statements issued or disseminated in
the name of Juniper were materially false and misleading or omitted material facts; knew that
such statements or documents would be issued or disseminated to the investing public; knew that
persons were likely to reasonably rely on those misrepresentations and omissions; and knowingly

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recklessly disregarded the falsity and misleading nature of the information which they caused to

 

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and substantially participated or were involved in the issuance or dissemination of such
statements or documents as primary violations of the federal securities law. As set forth
elsewhere herein, the Defendants, by virtue of their (i) receipt of information reflecting the true
facts regarding Juniper, (ti) control over, and/or receipt of Juniper’s allegedly materially
misleading misstatements, and (ili) access to confidential proprietary information concerning
Juniper were informed of, participated in and knew of the fraudulent scheme alleged herein.

With respect to non-forward-looking statements and/or omissions, Defendants knew and/or

be disseminated to the investing public.

78. Defendants’ false and misleading statements and omissions do not constitute
forward-looking statements protected by any statutory safe harbor. The statements alleged to be
false and misleading herein all relate to facts and conditions existing at the time the statements
were made. No statutory safe harbor applies to any of the Defendants’ material false or
misleading statements.

79, Alternatively, to the extent that any statutory safe harbor is intended to apply to
any forward-looking statement pled herein, the Defendants are liable for the false forward-
looking statement pled because, at the time each forward-looking statement was made, the
speaker knew or had actual knowledge that the forward-looking statement was materially false or
misleading, and the forward-looking statement was authorized and/or approved by a director
and/or executive officer of Juniper who knew that the forward-looking statement was false or
misleading. None of the historic or present tense statements made by the Defendants was an
assumption underlying or relating to any plan, projection or statement of future economic
performance, as they were not stated to be such an assumption underlying or relating to any

projection or statement of future economic performance when made nor were any of the

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projections or forecasts made by the Defendants expressly related to or stated to be dependent on
those historic or present tense statements when made.

X. ADDITIONAL SCIENTER ALLEGATIONS

80. As alleged herein, the Defendants acted with scienter in that, inter alia, the
Defendants knew or acted with recklessness with respect to the fact that the public documents
and statements issued or disseminated in the name of Juniper were materially false and
misleading: knew that such statements or documents would be issued or disseminated to the
investing public; and knowingly and substantially participated or acquiesced in the issuance or
dissemination of such statements or documents as primary violations of the federal securities
laws. As set forth elsewhere herein, the Individual Defendants, by virtue of their receipt of
information reflecting the true facts regarding Juniper, their control over and/or receipt and/or
modification of the allegedly materially misleading misstatements and omissions described
herein, which made them privy to confidential proprietary information concerning Juniper,
directly and substantially participated in the fraudulent scheme alleged herein.

81 . Moreover, the ongoing fraudulent scheme described in this Complaint could not
have been perpetrated over a substantial period of time, as has occurred, without the knowledge

of individuals at the highest levels of the Company, including the Individual Defendants.

XI. APPLICABILITY OF PRESUMPTION OF RELIANCE: THE FRAUD-ON-THE-

MARKET DOCTRINE

82. The market for Juniper’s securities was open, well-developed and efficient at all
relevant times for the following reasons (among others):
a. The Company’s shares met the requirements for listing, and were listed
and actively traded on NASDAQ;

b. As a regulated issuer, Juniper filed periodic public reports with the SEC;

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c. Juniper regularly communicated with public investors via established
market communication mechanisms, including through regular disseminations of press releases
on the national circuits of major newswire services and through other wide-ranging public
disclosures, such as communications with the financial press and other similar reporting services;

d. The market reacted to public information disseminated by Juniper;

€. Juniper was followed by numerous material securities analysts employed
by major brokerage firms who wrote reports which were distributed to the sales force and cértain
customers of their respective brokerage firms. Each of these reporis was publicly available and
entered the public marketplace;

f. The material misrepresentations and omissions alleged herein would tend
to induce a reasonable investor to misjudge the value of Juniper securities; and

g. Without knowledge of the misrepresented or omitted material facts,
Plaintiff and the other members of the Class purchased or otherwise acquired Juniper securities
between the time Defendants made the material misrepresentations and omissions and the time
the fraudulent backdating was being disclosed, during which time the price of Juniper securities
was inflated by Defendants’ misrepresentations and omissions.

83. As aresult of the foregoing, the market for Juniper’s securities promptly digested
current information regarding Juniper from ail publicly available sources and reflected such
information in Juniper’s securities prices. Under these circumstances, all purchasers and
acquirers of Juniper’s securities during the Class Period suffered similar injury through their
purchase or acquisition of Juniper’s securities at artificially inflated prices and a presumption of
reliance apply.

XII. LOSS CAUSATION

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84. Throughout the Class Period, the prices of the Company’s securities were
artificially inflated as a direct result of Defendants’ fraudulent misrepresentations regarding the
Company’s financial condition and results.

85. © The Company’s financial condition and results, including Juniper’s fraudulent
practices vis-a-vis backdated stock option grants, were material information to Plaintiff and the
other members of the Class. Had the truth been disclosed to the market at or before the end of
the Class Period, Plaintiff and the other Class members would not have purchased Juniper stock
at all, or would have done so only at substantially lower prices than the artificially inflated prices
which they actually paid.

86. When the truth about the Company was revealed, the inflation that had been
caused by Defendants’ misrepresentations and omissions was swiftly eliminated from the price
of the Company’s securities, causing: significant losses to Plaintiff and the other Class members.
The disclosures of third-party reports into the suspicious stock option grant practices of the
Company, as well as the May 22, 2006 disclosure of the U.S. Attorneys’ investigation of
Juniper’s stock option grant process, led to a flurry of trading in which Juniper’s stock price
plunged from its $18.48 close on April 28, 2006, to an opening price of $14.62 on May 22, 2006
{this represented a loss of market capitalization of over $1.34 billion).

87. The decline in the Company’s securities price following the revelations of the
Company’s fraudulent practices, and the resulting losses suffered by Plaintiff and the other
members of the Class, are directly attributable to the market’s reaction to the disclosure of
information that had previously been misrepresented or concealed by Defendants, and to the
market's adjustment of the Company’s securities price to reflect the newly emerging truth about

the Company’s financial condition.

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88. Defendants’ fraudulent conduct, as alleged herein, proximately caused foreseeable
losses to Plaintiff and the other members of the Class.

XIII... CAUSES OF ACTION
COUNTI

Violation of Section 10(b) of The Exchange Act
And Rule 10b-5 Promulgated Thereunder

(Against all Defendants)

89.  Plaintiffrepeats and realleges each and every allegation contained above as if
fully set forth herein.

90. This Count is asserted by Plaintiff on behalf of itself and the Class against all the
Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. §78j(b), and Rule
10b-5, 17 C.F.R. §240.10b-5, promulgated thereunder.

91. During the Class Period, the Defendants carried out a plan, scheme and course of
conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing
public, including Plaintiff and other Class. members, as alleged herein; (ii) artificially inflate and
maintain the market price of Juniper’s securities; and (iii) cause Plaintiff and other members of
the Class to purchase or otherwise acquire Juniper’s securities at artificially inflated prices. ‘Tn
furtherance of this unlawful scheme, plan and course of conduct, the Defendants, and each of
them, took the actions set forth herein.

92. The Defendants: (i) employed devices, schemes, and artifices to defraud; (ii)
made untrue statements of material fact and/or omitted to state material facts necessary to make
the statements not misleading by use of means or instrumentalities of interstate commerce; and
(iii) engaged in acts, practices, and a course of business which operated as a fraud and deceit

upon the purchasers and acquirers of the Company’s securities in an effort to maintain artificially

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high market prices for Juniper’s securities in violation of Section 10(b) of the Exchange Act and
Rule 10b-5.

93, As a result of their making and/or their substantial participation in the creation of
affirmative statements and reports to the investing public, the Defendants had a duty to promptly
disseminate truthful information that would be material to investors in compliance with the
integrated disclosure provisions of the SEC as embodied in SEC Regulation S-K (17 C.F.R.
§229,10, ef seg.) and other SEC regulations, including accurate and truthful information with
respect to the Company’s operations and performance so that the market prices of the
Company’s publicly traded securities would be based on truthful, complete and accurate
information. The Defendants’ material misrepresentations and omissions as set forth herein
violated that duty.

94, The Defendants engaged in the fraudulent activity described above knowingly and)
intentionally or in such a reckless manner as to constitute willful deceit and fraud upon Plaintiff
and the Class. The Defendants knowingly caused their reports and statements to contain
misstatements and omissions of material fact as alleged herein.

95. As aresult of the Defendants’ fraudulent activity, the market price of Juniper was
artificially inflated during the Class Period.

96. In ignorance of the true financial condition of Juniper, Plaintiff and other
members of the Class, relying on the integrity of the market and/or on the statements and reports
of Juniper containing the misleading information, purchased or otherwise acquired Juniper
securities at artificially inflated prices during the Class Period.

97, The market price of Juniper’s securities declined materially upon the public

disclosure of the true facts which had been misrepresented or concealed as alleged herein.

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98. Plaintiff's (and the Class’) losses were proximately caused by Defendants’ active
and ptimary participation in Juniper’s scheme to defraud the investing public by, among other
things, falsifying the Company’s financial results through the knowing or reckless failure to
properly apply GAAP, Plaintiff (and the members of the Class) purchased Juniper securities in
reliance on the integrity of the market price of those securities, and Defendants manipulated the
price of Juniper securities through their misconduct as described herein. Furthermore,
Defendants’ misconduct proximately caused Plaintiff's (and the Class’) losses. Plaintiff's (and
the Class’) losses were a direct.and foreseeable consequence of Defendants’ failure to disclose
and their concealment of, inter alia, the true state of the business operations and financial
condition of Juniper.

99. Throughout the Class Period, Defendants were aware of material non-public
information concerning Juniper’s fraudulent conduct (including the false and misleading
accounting statements). Throughout the Class Period, Defendants willfully and knowingly
concealed this adverse information regarding Juniper’s falsified revenue figures, and Plaintiff's
(and the Class’) losses were the foreseeable consequence of Defendants’ concealment of this
information.

100. Asa direct and proximate cause of the Defendants’ wrongful conduct, Plaintiff
and other members of the Class suffered damages in connection with their respective purchases
and sales of Juniper securities during the Class Period.

COUNT
Violation of Section 20(a) of the Exchange Act
(Against the Individual Defendants)
101. Plaintiffrepeats and realleges each and every allegation contained above as if

fully set forth herein.

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102. As alleged herein, the Individual Defendants acted as controlling persons of
Juniper within the meaning of Section 20(a) of the Exchange Act, 15 U.S.C. §78t(a). By virtue
of their executive positions, and/or Board membership, as alleged above, these individuals had

the power to influence and control and did influence and control, directly or indirectly, the

_ decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading. The Individual Defendants were
provided with or had unlimited access to copies of the Company’s internal reports, press
releases, public filings and other statements alleged by Plaintiff to be misleading prior to and/or
shortly after these statements were issued and had the ability to prevent the issuance of the
statements or cause the statements to be corrected.

103. In particular, the Individual Defendants had direct involvement in the day-to-day
operations of the Company and therefore, are presumed to have had the power to control or
influence the particular transactions giving rise to the securities violations as alleged herein, and
exercised the same.

104. As set forth above, the Individual Defendants and Juniper committed a primary
violation of Section 10(b) and Rule 10b-5 of the Exchange Act by the acts and omissions alleged
in this Complaint. By virtue of their positions as controlling persons of Juniper, the Individual
Defendants are liable pursuant to Section 20(a) of the Exchange Act. Asa direct and proximate
result of the Individual Defendants’ wrongful conduct, Plaintiff and the other members of the
Class suffered damages in connection with their purchase or acquisition of Juniper securities
during the Class Period.

XIV. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

A. Determining that this action is a proper class action,

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B. Awarding compensatory damages in favor of Plaintiff and the other class

members against all Defendants, jointly and severally, for all damages sustained as a result of the

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

C. Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

D, Awarding such other and further relief as the Court may deem just and proper.

XV. JURY TRIAL DEMANDED ©

Plaintiff hereby demands a trial by jury on all claims set forth herein.

Dated: July 28, 2006

By:

ALEXANDER, HAWES & AUDET, LLP

/s/
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Counsel for Plaintiff and the Proposed Class
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CERTIFICATION

 

Robert L, Garber ( Op ainthtF") declarag, as to the claims aserted under the federal secures
dawa, that:

1. —_Plaintifffhas reviewed the class action complaint and authorizes its filing and is willing
to serve as alead or named pluintiff'in the action on the basis of the allegations in thet complaintora
substantively similar or related complaint or amended aomplaint to be filed,

cogs Gian, 7 atone did oat pusyhase the security that is the subject of this ation ats the direction. ..o:cs cn.
“wo ~~ offla ¢ counsel Sr i Grdar ws partoipate in this tlvate action.

Plaintiff is willing to serve az a representative party on behalf of the class, including
proving reaimary at deposition and trial, ifnacessary.

4, Plaintiff's sransactions in Sunizer Networks (INPR) that are the subject of this actlan
ara as follows:
a See Attached Schedulé

$. . During the three years prior to. the date of this Certification, Platntli® has sought to
serve nr served aa @ representative parry for a class In a case under the federa) securities laws, a
follaws; Inre Vodafone Group PLC Securities Litigation 02 Civ. 7592 USDC So.Dint, NY; Garber
v. Pharmacia ‘Corp USDC NI 03-CV-1519; In re Federal Home Laan Mortgage Corp. Securities &
Derivative Litigation (No. Ii) t:04-md-01584-3ES USDC So.Dist. NY; In ro Fannie Mac Securities
Litigation No. 04-01639 USDC Dist, af Columbia; Robert 1. Garber v. ReitalssanceRe Holdings Ltd.
No, 65-7232 SDC Su. NY; in Re Boston Scientific Corporation Securities Litigation No.05-11934
USDC Dist, of Mass.; Robart L, Garver v, KLA-Tencor Corp

- 6  . Plaintiffwill not accept any payment for serving as a representative party on behalf of
the elass beyond the: Plainti’s pro rata shure of any feunvery, except sich reasonable costs and
expenses (including lost wages) Atreaty relating to the representation of the class as ordered or
agpraved by the court.

Ideolare a der penalty of perjury that the foregoing is true and correct,

Executed this 2'7 “day of June, 2006, | .
LEY be
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 RORERTL.GARBER
SCHEDULE OF TRANSACTIONS FOR
JUNIPER NETWORKS; INC. (NPR)

Account # 037-20834, ROBERT L. GARBER MPP

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Transaction Type _{ Shares Price
Feb 20,2004 ‘| Bought {30 §25,50200
‘Oct 12,2004 | Bought 75 $24.36180
Account # 037-43692, R, GARBER C/F BENJAMIN JAMES GARBER UTMA-PA
_ "Deter “Transaction Type Shares Price ow
Feb 20,2004 | Bought 15 | $25,50200
Oct 12, 2004 | Bought 20 $24.36180
Sep 14,2005 | Bought 20 $23.70420
Jan 03,2006 | Sold [55° $21.03000
- Account # 037-32481, ROBERT L. GARBER AND JEANNETTE FISHER-GARBER,
-JTWROS . .
Date Transaction Type _| Shares Price
Feb 20,2004 | Bought 100 $25.50200
‘(Nav tt, 2004 | Bought 140 ‘) 927.27360

 

 

 

 
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152 North Third Street, Suite 600, San Jose, California 95112; I am over the age of 18 and not a
party to the within action. On this date I served the following document(s):

on the parties shown below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF SANTA CLARA

J am employed in the County of Santa Clara, State of California; my business address is

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Robert L. Green Juniper Networks, Inc.

Green Welly 1194 North Matilda Avenue

595 Market Street, Suite 2750 Sunnyvale, California 94089

San Francisco, CA 94105

Joni Ostler Mark C. Gardy

Wilson Sonsini Goodrich & Rosati James 8. Notis

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Alfred G. Yates, Jr.

LAW OFFICES OF ALFRED G.
YATES, JR.

519 Allegheny Building

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Pittsburgh, Pennsylvania 15219-1649

(BY FAX) I am readily familiar with the firm’s practice of facsimile transmission; on this
date the above-referenced documents were transmitted, the transmission was reported as
complete and without error and the report was properly issued.

(BY MAIL) I am readily familiar with the firm’s practice for the processing of mail; on
this date, the above-referenced documents were placed for collection and delivery by the
USS. Postal Service following ordinary business practices.

(BY ELECTRONIC FILING) On this date I provided the documents(s) listed above
electronically through the Court’s electronic filing service provider pursuant to the
instructions on that website.

(BY E-MAIL) On this date, the above-referenced documents were converted to electronic
files and e-mailed to the addresses shown.

(BY PERSONAL SERVICE) I caused the above documents to be delivered by hand
pursuant to CCP § 1011.

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I declare that I am employed in the office of a member of the bar of this court at whose

direction the service was made.

Executed on this _28" day of _July_ at San

, California.

 

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Bonnie Hoy lay

 
